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The following constitutes the ruling of the court and has the force and effect therein described.



Signed April 20, 2017
                                           United States Bankruptcy Judge
______________________________________________________________________



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

     In re: DIANNE DORMAN                           § Case No. 16-40061-rfn13
                                                    § (Chapter 13)
     OCWEN LOAN SERVICING, LLC as                   §
     mortgage servicer for DEUTSCHE BANK            §
     NATIONAL TRUST COMPANY, AS                     § HEARING DATE: 04/19/2017
     TRUSTEE FOR SECURITIZED ASSET                  §
     BACKED RECEIVABLES LLC TRUST                   § TIME: 01:30 PM
     2007-NC1, MORTGAGE PASS-THROUGH                §
     CERTIFICATES, SERIES 2007-NC1, its             §
     successors and/or assigns, Movant              § JUDGE RUSSELL F. NELMS
                                                    §
     vs.                                            §
                                                    §
     DIANNE DORMAN, DEBTOR AND TIM                  §
     TRUMAN, TRUSTEE, RESPONDENTS

        ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY
      REGARDING 100 ASCOT DR. , SOUTHLAKE, TX 76092 PURSUANT TO § 362 FILED
         BY DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR
     SECURITIZED ASSET BACKED RECEIVABLES LLC TRUST 2007-NC1, MORTGAGE
                 PASS-THROUGH CERTIFICATES, SERIES 2007-NC1

              On 01/06/2017, a Motion for Relief from Automatic Stay regarding 100 ASCOT DR. ,

     SOUTHLAKE, TX 76092 pursuant to 11 U.S.C. § 362 (the Motion) was filed by DEUTSCHE

     BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR SECURITIZED ASSET


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BACKED RECEIVABLES LLC TRUST 2007-NC1, MORTGAGE PASS-THROUGH

CERTIFICATES, SERIES 2007-NC1 (hereinafter Movant) in the above referenced case. The

Court finds that the Motion was properly served pursuant to the Federal and Local Rules of

Bankruptcy Procedure and that it contained the appropriate fourteen (14) - day negative notice

language, pursuant to LBR 4001, which directed any party opposed to the granting of the relief

sought by the Motion to file a written response within fourteen days or the Motion would be

deemed by the Court to be unopposed. The Court finds that good cause exists for the entry of the

following order.

         IT IS THEREFORE ORDERED that the Motion for Relief from the Automatic Stay

regarding 100 ASCOT DR. , SOUTHLAKE, TX 76092 pursuant to 11 U.S.C. § 362 filed by

DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR SECURITIZED

ASSET BACKED RECEIVABLES LLC TRUST 2007-NC1, MORTGAGE PASS-THROUGH

CERTIFICATES, SERIES 2007-NC1 is hereby GRANTED so as to authorize DEUTSCHE

BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR SECURITIZED ASSET

BACKED RECEIVABLES LLC TRUST 2007-NC1, MORTGAGE PASS-THROUGH

CERTIFICATES, SERIES 2007-NC1, its successors and assigns, to exercise any and all

remedies available at law and under the applicable loan documents to repossess and/or foreclose

its lien upon its lien upon said real property. Further, Movant may contact the Debtor by

telephone or written correspondence and, at it option, offer, provide and enter into any potential

forbearance agreement, loan modification, refinance agreement or other loan workout/loss

mitigation agreement regarding said real property, more specifically described below:

LOT 1, BLOCK 2, OF CHAPEL DOWNS, AN ADDITION TO THE CITY OF SOUTHLAKE,
TARRANT COUNTY, TEXAS, ACCORDING TO THE PLAT THEREOF RECORDED IN
CABINET A, SLIDE 386, OF THE PLAT RECORDS OF TARRANT COUNTY, TEXAS.

         IT IS FURTHER ORDERED that Creditor is exempt from further compliance with Fed.


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Bankr. Rule P. 3002.1.

                                  #### END OF ORDER ####




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Approved As to Form and Substance:

/s/ Stephen Wu
________________________________
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